                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION

BRANDY TODD, on behalf of himself and                )
all others similarly situated                        )
                         Plaintiff,                  )
v.                                                   )       JUDGMENT
                                                     )       No. 7:24-CV-911-FL
COLUMBUS REGIONAL HEALTHCARE                                 )
SYSTEM                                               )
               Defendant                             )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge on failure
to make service within 90 days.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
February 7, 2025 and for the reasons set forth more specifically therein, this case is dismissed for
without prejudice pursuant to Federal Rule of Civil Procedure 4(m).

This Judgment Filed and Entered on February 7, 2025, and Copies To:
Samuel Ranchor Harris, III (Via CM/ECF Notice of Electronic Filing)


February 7, 2025                      PETER A. MOORE, JR. CLERK

                                        /s/ Sandra K. Collins
                                      (By) Sandra K. Collins, Deputy Clerk




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